   Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 1 of 35




                              UN ITED STATES D ISTRICT COURT
                              SOUTHERN DISTRICT OF FLQRIDA


                                     18-20821-CV-ALTONAGA/GOODMAN
                                             Case N o:

D IM ITRI PA TTER SO N ,
                                                       JU RY TRIA L D EM A N D ED
             Plaintiff,
      V S.
                                                                                          LH

                                                                                    Mar 5, 2018
M iami-DadeCounty,apoliticalsubdivision,the
                                                       V iolations                  MAit 2b 2:12
Miami-DadePoliceDejartment,theMiami-Dade
CorrectionsandRehabllitationDeyartment,Bertila         42
                                                       18U.
                                                          U S.C. 1985(3)
Soto,in herofficialcapacity asChtefJudgeofthe               .S.C . 241
11thJudicialCircuitCourtofFlorida, Judge Stnnford      18 U .S.C . 1341
Blake,JudgeW illinm Altfield,M itchellKarpf,Cindy )    1: U .S.C. 1344
D . Sackrin,M arcosBeaton,Jr.,M ark Eiglarsh,      )
                                                   )   4.
                                                        .:A m en m ent
                                                       5tn
                                                         :A m endm ent
Jessica Underwood,Leon Hunter,CecileM elanie )         8 A m endm rjjt
CasuttVon Batemberg,GabriellaPhillingane,          )   13.
                                                         :.
                                                          nA m endm ent
KatherineFernandez Rundle,Phillip Reizenstein, )       14'HA m endm ent
Jamie M orris,Christy L.Hertz,Nauman Siddque, )
D rew R osenhaus, Y oung,Berm an,K arpf&           )
                                                   )
GonznlezP.A.,Black,Srebnick,Kornspan & Stum pf,)
P.A.,W ayneAdams,JudgeBernard Shapiro,Judge )
M ilton Hirsch,JudgeJoseph 1.Davis,JudgeDonald
Cannava,Judge Deborah W hite-Labora,Judge
Alberto M ilian,M ark E.Sawicki,ErickaM edina,
JoelW ilson,DNA DiagnosticsCenter,lnc.,Bank of )
N ew York M ellon,Bank ofA m erica Corp.,N FL      )
PlayerSecond CareerSavingsPlan M asterTrust,
SavingsBoard ofTheNFL PlayerSecond Career
SavingsPlan,N FL PlayerInstlrance Trust,the N FL
M anagem entCouncil,RussellW alters,LiliaM .
Casal,M eyliM arkward,Tammy Thompson,Vicki
D enslow ,M arie W hite,Lindsay D .D iTusa,Phillip
Ronca,PaulSum ulong,John D oe 1,John D oe 2,
JaneDoe,Raymond Jam esFinancial,and Keith
Ginsburg,
             Defendants                           )
                          ,                       )
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 2 of 35




                                      JURISD ICTION


  1. Thisactionisbroughtptlrsllzmttoj42U.S.C.j1985(3),18U.S.C j241,18U.S.C j
  1341,18U.S.C j 1344,andtheFOURTH,FIFTH,EIGHTH,THIRTEENTH,and
  FOURTEENTH Amendmentsto the United StatesConstimtion.Jurisdiction isfounded upon 28
  U.S.C j1331& j 1343.

                                             PA RTIES


  2.    Plaintiff,DimitriPatterson,wasborn in M iami,FL and is34 yearsold.


  3.    Defendant,M iam i-Dade County,isapoliticalsubdivision who can be sued in itsown
  nameandisresponsiblefortheactsofitsjudicialbranchandadministrativedepartments.


  4.    Defendant,theMinmi-DadePoliceDepartment(M DPD),isbeingsuedinitsoftkial
  capacity asan adm inistrativedepartmentofM iam i-Dade County.


  5.    Defendant,theM inmi-DadeCorrectionsandRehabilitationDepartment(MDCR),is
  being sued in itsoftk ialcapacity asan adm inistrativedepartmentofM iami-DadeCounty.


  6.    Defendant,Bertila Soto,isbeing sued asan individualand in herofficialcapacity as
  ChiefJudgeoftheM iami-Dade11thJudicialCircuitCourtofFlorida, whichisajudicialbranch
  ofM iam i-DadeCounty. Pursuantto Florida Statute 43.2% ChiefJudge Soto isresponsiblefor
  theeftk ientand properadminiskation ofthe 11thJudicialCircuitand County Courtsin M inm i-
  Dade Cotmty.In addition,ChiefJudge Soto isresponsible fordeveloping aplan fortheprom pt
  dispositionofcases;assignmentofjudges,othercourtandexecutiveassistants;controlof
  dockets;regulation and useofcourtroom s;mandatory periodicreview ofthe statusofthe



                                              2
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 3 of 35




  inmatesofthecountyjail;and,considerationofstatisticaldata.'
                                                            I'
                                                             heChiefJudgealsoenters
  adm inistrative ordersto properly directthecourt'sday-to-day affairsand appointscomm itteesto
  servein an advisory capacity.


         Defendant,JudgeStanford Blake,isbeing suedasan individualand in hisoffk ial
  capacity asaformerJudge ofthe Eleventh JudicialCircuitCourtofFloridw forconspiring to
  deprivethePlaintiffofhisconstitutionalrightsand forthemultiplecrim inalactsagainstthe
  Plaintiff.


  8.     Defendant,JudgeW illiam A ltfield,isbeing sued both asan individualand in hisofficial
  capacity asan Eleventh JudicialCounty CourtJudgeofFloridw forconspiringto deprivethe
  Plaintiffofhisconstitutionalrightsand forthem ultiple crim inalactscarried outagainstthe
  Plaintiff.


  9.     Defendant,Cindy D .Sackrin,ofthe Law Oftk esofCindy D .Sackdn,isbeing sued asan
  individualforconspiringto deprivethe Plaintiffofhisconstitutionalrightsand forthenum erous
  criminalactsofpostage fraud.


  10.    Defendant,M arcosBeaton,Jr.,isbeing sued asan individualforconspiringto deprive
  thePlaintiffofhisconstitutionalrightsand forthecriminalactsofforgery and fraud.


  11.    Defendant,M itchellKarpf,ofYoung,Berm an,Karpf& GonzalezP.A.,isbeing sued as
  an individualforconspiring to deprivethePlaintiffofhisconstitutionalrightsand forthe
  crim inalacts offraud and em bezzlem ent.


         Defendant,Jam ieM orris,isbeing sued asanindividualforconspiring to deprivethe
  Plaintiffofhis constim tionalrights.




                                                3
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 4 of 35




  13.    Defendant,Christy L.Hertz,ofChristy Hertz Law P.A.,isbeing sued asan individllnlfor
  conspiring to deprivethePlaintiffofhisconstitutionalrightsand forthe crim inaland gaudulent
  actsofem bezzlementagainstthePlaintiff.


  14.    Defendant,Naum an Siddique,an attorney forKenny Leigh & Associates,isbeing sued
  asan individualforconspiring to deprivethePlaintiffofhisconstitutionalrightsand forhis
  criminaland fraudulentactsagainstthe Plaintiff.


  15.    Defendant,M iam iAssistantStateAttorney,Leon Hunter,isbeing sued asan individual
  forconspiring to deprive the PlaintiF ofhisconstitutionalrights.


  16.    Defendant,M iamiAssistantStateAttom ey,Cecile M elanieCasuttVon Batem berg,is
 being sued asan individllnlforconspiring to deprivethePlaintiffofhisconstitutionalrights.


  17.    Defendant,M iam iA ssistantState A ttom ey,Jessica Underwood,is being sued asan
  individualforconspiring to deprivethePlaintiffofhisconstimtionalrights.


  18.    Defendant,M ark Eiglarsh,isbeing sued asan individllnlforconspiring to deprivethe
  Plaintiffofhisconstitutionalrights.


  19.    Defendant,Phillip Reizenstein,isbeing sued asan individualforconspiring to deprive
  the Plaintiffofhisconstitutionalrights.


  20.    D efendant,Young,Berm an,Karpf& G onznlez P.A .,isbeing sued for conspiring to
  depdve the Plaintiffofhis constitutionalrights.


  21.    Defendant,Black,Srebnick,Kom span & Stumpf,P.A.,isbeing sued forconspiring to
  deprivethe Plaintiffofhisconstitutionalrights



                                                  4
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 5 of 35




  22.       Defendant,Katherine Fernandez Rundle,State Attorney fortheM iamiStateAttorney's
  Office,isbeing sued asan individualforconspiring to deprivethePlaintiffofhisconstitutional
  rights.


  23.       Defendant,M inm iAssistantStateAttom ey,GabriellaPhillingane,isbeing sued asan
  individualforconspiring to deprivethePlaintiffofhisconstitutionalrights.


  24.       Defendant,Drew Rosenhaus,thePlaintiffsformerNFL agent,isbeing sued asan
  individualforconspiring to deprive the Plaintiffofhisconstimtionalrightsby comm unicating
  telephonically withAttorney Cindy Sackrin,with theintention to empowerherto defraud,
  oppress,and coercethePlaintiffto illegally benefk herclient,ErickaM edina.Additionally,M r.
  Rosenhausiscomm unicating telephonically with individualsemployed by the NFL Players
  InsurancePlan,and theN FL PlayersBenefits.


            Defendant,M iam iAssistantStateAttorney,W ayneAdam s,isbeing sued asan
  individualforconspiringto deprive the Plaintiffofhisconstimtionalrights.


  26.       Defendant,Bem ard Shapiro,isbeing sued both asan individual,and in hisofficial
  capacity asan Eleventh JudicialCounty Cotu'
                                            tM agistrateJudgeofFlorida,forconspiringto
  deprivethePlaintiffofhisconstitutionalrights.


            Defendant,JudgeM ilton Hirsch,isbeing sued asan individualand inllisoftk ial
  capacity asa Judge ofthe Eleventh JudicialCircuitCourtofFlorida,forconspiring to deprive
  the Plaintiffof hisconstitutionalrights.




                                                 5
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 6 of 35




  28.    Defendant,JudgeDonald Cnnnava,isbeing sued asan individualand in hisom cial
  capacity asaJudgeoftheEleventh JudicialCotmty CourtofFlorida,forconspiringto deprive
  the Plaintiffofhisconstitutionalrights.


  29.    Defendant,JudgeJoseph 1.Davis,isbeing sued asan individualand in hisoflcial
  capacity asaJudgeoftheEleventh JudicialCotmty CourtofFlorida,forconspiringto deprive
  the Plaintiffofhisconstitutionalrightsand themultiplecriminalactsbroughtagainstthe
  Plaintiff.


  30.    Defendant,JudgeAlberto M ilian,isbeing sued asan individualand in hisoftk ial
  capacity msaJudgeoftheEleventh JudicialCircuitCourtofFloridw forconspiringto deprive
  the Plaintiffofhisconstitutionalrights.


  31.    Defendant,JudgeDeborah W hite-Labora,isbeing sued asan individualand in her
  oftk ialcapacity asaJudgeofthe Eleventh JudicialCircuitCourtofFlorida,forconspiringto
  deprivethePlaintiffofhisconstimtionalrights.


  32.    Defendant,M ark E.Sawicki,isbeing sued asan individllnlforconspiring to deprivethe
  Plaintiffofhisconstitutionalrightsand forhiscrim inalactsofpostage fraud.


         Defendant,Ericka M edinw isbeing sued asan individualforconspiring to deprivethe
  Plaintiffofhisconstitutionalrights,thecrim inalactsofpaternity fraud,and comm tmicatingfalse
  reportsto law enforcement,pursuantto Florida Statute 837.05.

  34.    D efendant,JoelW ilson,isbeing sued msan individllnlforconspiring to deprive the

  Plaintiffofhisconstitutionalrights.




                                               6
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 7 of 35



  35.    Defendant,DN A DiagnosticsCenter,Inc.,isbeing sued asa ûtperson''forconspiring to

  deprivethePlaintiffofhisconstimtionalrightsand thecrim inalactsoffraud.



  36. Defendant,RaymondJnmesFinancialbeingsuedforviolation42U.S.C 1985(3).


  37.    Defendant,Bank ofNew York M ellon,isbeing sued asattperson''forconspiring to

  deprivethePlaintiffofhisconstitutionalrightsandthecrim inalactsoffraud.



  38.    Defendant,NFL PlayerSecond CareerSavingsPlan M msterTrust,ElN # **-***0796,is

  being sued msa Rperson''forconspiring to deprivethePlaintiffofhisconstitutionalrightsand

  defrauding the Plaintiff.



  39.    Defendant,SavingsBoard oftheNFL PlayerSecond CareerSavingsPlan,EIN # **-

  ***2902,isbeing sued asaûtperson''forconspiring to deprivethePlaintiffofhisconstitutional

  rightsanddefrauding thePlaintiff.



  40.    Defendant,NFL PlayerlnsuranceTrust,Em # **-***7470,isbeing sued asaûtperson''

  forconspiring to deprivethePlaintiffofhisconstitutionalrightsand defrauding thePlaintiff



  41.    Defendant,theNFL M anagementCouncil,Em # **-***8305,isbeing sued asa

  çtperson''forconspiring to deprive the Plaintiffofhis constitutionalrights and defrauding the

  Plaintiff.
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 8 of 35



  42.    Defendant,Bank ofAmerica Corp.,isbeing sued asaEEperson''forconspiring to deprive

  the Plaintiffofhisconstitutionalrightsand defraudingthePlaintiff.



  43. Defendant,PhillipRoncw isbeingsuedforviolationsof42U.S.C.j198543),18U.S.C j

  241and 18U.S.C j 1341.


  44.    Defendant,PaulSumulong,isbeingsuedforviolationof42U.S.C.j 198543).


  45.    Defendant,John Doe 1,an employeeofBank ofAm ericw isbeing sued forviolationsof

  42U.S.C.j198543),18U.S.C j241,18U.S.C j 1344and18U.S.C j 1341.


  46.    Defendant,JaneDoe,an employee ofDNA DiagnosticsCenterlnc.,isbeing sued for

  violationsof42U.S.C.j1985(3),18U.S.C j241,and18U.S.C j 1341.


         Defendant,Jolm Doe 2,an employeeofBank ofNew York M ellon lnc.,isbeing sued for

  violationsof42U.S.C.j1985(3),18U.S.C j241,18U.S.C j1341and18U.S.C j 1344.


  48.    Defendant,LiliaM .Casal,isbeing sued asan individualforconspiring to deprivethe

  Plaintiffofhisconstitutionalrights.



  49.    Defendant,RussellW alters,is being sued as an individualforconspiring to deprive the

  Plaintiffofhisconstim tionalrightsand fraud.




                                                 8
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 9 of 35




  50. Defendant,M eyliMarkward,isbeingsuedforviolationsof42U.S.C.j 1985(3),18

  U.S.C j241and18U.S.C j 1341.


  51. Defendant,TammyThompson,isbeingsuedforviolationsof42U.S.C.j 198543),18

  U.S.C j241and18U.S.C j 1341.


        Defendant,LindsayDitusa,isbeingsuedforviolationsof42U.S.C.j 1985(3),18U.S.C

  j241and18U.S.C j 1341.


  53. Defendant,MarieWhite,isbeingsuedforviolationsof42U.S.C.j1985(3),18U.S.C j

  241and18U.S.C j 1341.


  54. Defendant,VickiDenslow,isbeing suedforviolationsof42U.S.C.j 198543),18U.S.C

  j241and18U.S.C j 1341.


  55. Defendant,KeithGinsburgisbeing suedforviolationsof42U.S.C.j1985(3).


  56. Defendant,RaymondJamesFinancialisbeing sued forviolationsof42 U.S.C.j198543).




                                 Statem entofFacts




                                          9
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 10 of 35




                                    FirstC ause ofA ction


  Defendant,M iam i-D ade C ounty's Failure to Intervene and C om e to the A id ofthe Plaintil
            toProtectHisConstitutionalRights.Violationof42.U.S.C.j1985(3)


  57. Miami-DadeCotmty isamunicipalitythatisresponsiblefortheactsofitsjudicialbranch
  and adm inistrativedepartments,and hastheauthority to exercise itspower,llnlessprohibited by
  the Constitution,plzrsuantto Florida Statute 166.021.Thedeprivation ofthePlaintiffsrightsby
  M iami-DadeColmtyadministrativedepartmentsandjudicialbranchfiduciary officers,hasbeen
  atwo and ahalfyearstrategically planned m aliciousam bush.M iam i-DadeCounty hasthe
  powerto preventand aid in theprotection ofthePlaintifrsconstitutionalrights,butchoseto turn
  ablind eye.TheDefendantisconsidered a Etperson''liable form onetary damagespursuantto 28
  U.S.C.j1343and42.U.S.C.j1985(3)


  58. ThePlaintiffhmssuffered injuriesbybeingtratzmatized,physically attacked,
  em banw sed,defrauded,and publically hum iliated asa directresultofM iami-DadeCotmty,and
  isentitledtorecoverdamagespursuantto28U.S.C.j 1343and42U.S.C.j1985(3).The
  Defendantfailed to preventthewrongsmentioned in thiscomplaintwhilehaving fullknowledge
  ofthestrategically planned abhorrentactscomm itted andthepowerto prevent,butchosenotto
  stop the deprivation ofthePlaintiffsconstitutionalrightsthatare sectlredto lzim by the Fourth,
  Fifth,Eighth,Thirteenth,and Fourteenth Am endments.


                                      Second Cause ofA etion


   Violationof42U.S.C.j198543),18U.S.C j241,18U.S.C j 1341,1344andtheFOURTH,
  FIFTH ,EIG H TH ,TH IRT EEN TH ,and FO U RTE EN TH Am endm entsby D efendants 6-36,
                                      42-46,48-49 & 55-56.



                                                10
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 11 of 35




  59.    On oraboutDecember25,2014,DefendantDrew Rosenhaus,thePlaintifrsformerNFL
  agent,proceedsto conspireto deprivethe Plaintiffofhisconstitutionalrightsby comm unicating
  telephonically w1t11Attorney Cindy Sackrin,with theintention to empowerherto defraud,
  oppress,and coercethePlaintiffto illegally benefk herclient,ErickaM edina.Additionally,M r.
  Rosenhausiscurrently conspiringtelephonieally with individualsemployed by theNFL Players
  lnsurancePlan,and theNFL PlayersBenefitsPlan to deprivethe Plaintiffofhisconstitutional
  rightsunderhisretirementplans.


  60. OnApril9,2015,ErickaM edinasignsunderpenaltyandperjurydeclaringthePlaintiff
  asbeingthebiologicalfatherwithfullknowledgeofhim notbeinthebiologicalfather.(See
  ExhibitC)

  61.    On April14,2015,Attom ey Sackrin emailedan affidavitto thePlaintiffforattorney fees
  and servicesnotyetrendered in the am ountof$45,100.00.Thisisaclearactofprem editated
  fraud and attorney misconduct.Thisemailcan beverified by electronic transm ission
  authentication.


  62.   Between Jtme2015and January 2017,Attorney Sackrin appeared atcountlessfraudulent
  hearingswith fullknowledgeofthiscasehaving no m eritwith theintentto deprivethePlaintiff
  ofhisconstimtionalrights.(SeeExhibitC)

  63.    Between April2015 and M arch 2017,Attorney Sackrin comm itted m ailf'
                                                                             raud by sending
  numerousdoctzmentsviapostagemail(fraudulentorders,judgments,andaBodilyAttachment
  W ritofArrest)tothePlaintiffsmother'sresidence.Attorney Sackrin'ssolepurposewasto
  stalk,defraud,and deprive the Plaintiffofhisconstitutionalrights.A ttom ey Sackrin w as
  reportedtotheUSPostalInspectionService.(SeeExhibitC)




                                                11
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 12 of 35




  64.    Attorney Sackrin maintained constantcom munication w1t11thePlaintic sprevious
  attorneys,M itchellKarpf,M arcosBeaton,Jr.,Christy Hertz,and Naum an Siddique,both
  telephonically and via emailwiththe intentto deprivethePlaintiffofhisconstitutionalrights.
  Thiscan easily beproven with phoneauthentication by a certified professionalintheindustry.


  65.    On June 1,2015,atthe Lawson E.Thom asCourthouse,Judge Stanford Blake,tmderthe
  administrativeauthority ofChiefJudgeBertila Soto,initiated apre-meditated Paternity Fraud
  schemeby presiding overM iam i-DadeCounty Case 14-028951 FC 18,and conspiring with the
  Plaintiffstwo attorneys,Defendants,M itchellKarpfand Jam ieM orrisofYotmg,Berman,Karpf
  & Gonzalez,and opposingcotmsel,Cindy D.Sackrin and herclient,Ericka M edina and DN A
  Diagnostics,lnc.Judge Blake and theabove-m entioned attorneysdeceivedthe Plaintiffinto
  believing thatJudgeBlakewasissuing an orderfora legalDNA testto be executed by the
  Defendant,DN A Diagnostics Inc.A legalDN A testw as never issued pursuantto Florida law .


  66.    On oraround Jtme 13,2015,the Plaintiffgoesto aDNA Diagnosticstesting facility
  located atthecornerofSR 826 and BiscayneBlvd in Aventura,FL.ThePlaintiffproceedsto be
  swabbedby an employeeatthefacility withoutbeing fingerprinted orphotographed.


         On oraround Jlm e 19,2015,the Plaintiffreceivesan emailfrom DNA Diagnostics,Inc.
  with a seclzrelink thatrequired apassword to accesstheDNA resultsthatdid nothave achain
  ofcustody attached.Thisactisacler violation of42U.S.C 1985(3).DNA Diagnostics,Inc.is
  fully awarethatalegalDNA testpursllanttoFlorida1aw wmsneverexecuted,butproceededto
  conspiretodeprivethePlaintiffofhisrighttodueprocessoflaw.DNA Diagnostics'prejudiced
  actionsclearly show the intentto tnke advantageofthePlaintiffscurrentstatusasa
  m isrepresented clientshowing prem ediated intenttoharm .These actionsestablish theirliability
  forviolationof42U.S.C 198543)andasaresult,thePlaintiffisentitledtodamagespttrsuantto
  28U.S.C 1343.(SeeExhibitC)




                                                12
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 13 of 35




  68.   On oraroundJune 19,2015,the Plaintiffreceivesaphone callfrom hisfam ily law
  attorneys,M itchellKarpfand Jamie M oniscongratulating him on thenew s.Atthistim eboth
  attorneyshad fullknowledgethatalegalDNA test,pursuantto Floridalaw,wasneverexecuted,
  butproceeded to conspireto deprivethePlaintiffofhisrightto dueprocessoflaw.


  69.   On June24 2015,Attorney Sackrin filesaN oticeofiling a DNA TestReportinto the
  M iami-DadeClerk ofCourt.Attorney Sackrin isin herrightm ind and isfully awarethatalegal
  DNA testhasnotbeen executed ptlrsuantto Floridalaw ,butproceedsto willfully violate 42
  U.S.C.j1985(3),18U.S.C j241and18U.S.C j 1341.(seeexhibitC)


  70.   On June24,2015,attheLawson E.Thom asCourthouse,JudgeBlake,* t.
                                                                     11Defendants,
  M itchellKarpfand Jam ieM orrisofYoung,Berm an,Karpf& Gonzxlez,and opposing counsel,
  Cindy D.Sackrin and herclient,Ericka M edina,comm itted Paternity Fraud,by coercing the
  Plaintiffinto disclosing hisfinancialstatementswithoutalegalDNA test.TheDNA testwasnot
  properly executed according to Florida Statute 742.12.Therewasno verifed docum entation
  ofthe chain ofcustody ofthe blood or other specim en.w hich m akesthe D N A test
  INVALID.Judge Blakehasfullknowledgeofthislaw.JudgeBlake isfully awarethatalegal
  DNA testpursuantto Florida 1aw wasneverexecuted butproceeded to conspireto deprivethe
  Plaintiffofhisrighttodueprocessoflaw.(SeeExhibitC)

        On June 24,2015,attheLawson E.Thom asCourthouse,Judge Blake conductsa
  tlmeeting oftheminds''conspiring with Defendants,M itchellKarpfand Jnmie M orrisofYoung,
  Berman,Karpf& Gonzalez,and opposing counsel,Cindy Sackrin and herclient,ErickaM edina,
  andproceeded to coercethePlaintiffinto paying theopposing attom ey,Cindy Sackrin,attorney
  feesin the amountof$37,000.00,withoutan executed DNA testoran establishmentofpaternity
  pursuantto FloridaLaw.During the illegalhearing,Attorney Sackrin bragsendlessly abouther
  friendship with Drew Rosenhausand how they tespeak telephonically a11thetime in regardsto



                                              13
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 14 of 35




  thePlaintiff'.Attorney Sackrincontinued hercrim inalbehaviorofroleplaying * 111theabove-
  mentioned co-defendants,by spending two hoursillegally crossexam iningthe Plaintiffabout
  personalfinancesand hispastcareer.Attorney Sackrin also illegally obuinsthePlaintitrscredit
  cardandbankrecordsfrom thePlaintitrsattomey.(SeeExhibitC)

  72.    On Jtme24,2015,atthe Lawson E.ThomasCourthouse,JudgeBlake,w1t11Defendants,
  M itchellKarpfandJamie M orrisofYoung,Berman,Karpf& Gonzxlez,and opposing colmsel,
  Cindy Sackrin and herclient,Ericka M edina,proceeded to coercethe Plaintiffinto paying
  $5,000.00 amonth in temporary child support.Again,there wasno DN A testoran establishm ent
  ofpaternitypursuanttoFloridaLaw.(SeeExhibitC).

  73.    On June24,2015,atthe Lawson E.ThomasCourthouse,JudgeBlakecontinuesto role
  play with Defendants,M itchellKarpfand Jam ie M orrisofYotmg,Berm an,Karpf& Gonzalez,
  and opposing counsel,Cindy Sackrin and herclient,ErickaM edina,by stating thatthePlaintiff
  wouldm eetthemotherofthe child in question attheAventuraM all,AventuraFL 33180,on
  August1,2015,to haveunsupervised tim esharing,although atthattime,establishmentof
  patenzity,ptlrsuantto Florida law,wasnonexistent.


  74.    On orbeforeJuly 2015,thePlaintiffquestioned the testand placed acallto DNA
  Diagnosticsand wastoldthattherewasno record and no chain ofcustody forthe mother,
  ErickaM edinaand herson evertaking a IegalDNA testplzrsuantto Florida 1aw on thedateof
  June 11,2015.


         On oraround July 22,2015,the PlaintiffcontactsDNA Diagnosticstelephonically asking
  wheretheDefendant,ErickaM edinaandherchild took the DNA testand wastold by an
  employeethattheDefendant,Ericka M edinaawentto alocation in Hialeah,FL.Afterstating the
  location,the employeepausesand then asksthePlaintiffifhewould mind beingplaced on a




                                               14
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 15 of 35




  briefhold.Jane Doe com esonthelinerefusing to identify herselfstating,ttW e can'tgiveyou the
  location ofwhereEricka M edinatook thetesf',and ended thecall.


  76.    On August1,2015,theAventtlra Policearrested thePlaintiffathishom ebased on a
  fabricatedpolicestatementby Ericka M edina,and CaseF-15-15779 wasgenerated with the
  chargesoffelony child abuse and battery.ThePlaintiffthen secured the servicesofbail
  bondsm an,Phillip Ronca,who proceedsto conspireby refusing toretrievetheCertificateof
  Dischargeofbond forCaseF-15-15779,atthe Plaintiff srequest,which hereceived on February
  3,2018.lnstead,M r.Ronca,proceeded to send fraudulentdocumentation showingw arrantinfo
  onthecriminaldockettothePlaintiffsmother'semailaddress.(SeeExhibitsB andE)

  77.    On December2,2015,attheLawson E.ThomasCourthouse,Judge Blakedefraudsthe
  Plaintiffby issuinganillegalmoneyjudgementandW ritofGnrnishmenttoM itchellKarpfof
  Young,Berman,Karpf& Gonzalez,withoutexecuting any ofthecivillaw proceduresptzrsuant
  to Chapters48,55,and 77 oftheFlorida Statutes.The Florida Departm entofState hasno
  record ofajudgmentIien in thenameofDimitriPatterson.M itchellKarpfproceedsto
  presentthefraudulentJudgm entto theDefendantBank ofAmerica.Bank ofAm erica
  acknow ledgesthe fraudulentdocum entation and disbursestheam otmtsof$35,329.00 and
  $125.00 to M itchellKarpffrom the PlaintifrsBOA accountending in ****0186.Bank of
  Americahasfullknowledgeofthemoneyjudgementbeingfraudulent,butproceedstowillfully
  conspire with DefendantsM itchellKarpf,ofYoung,Berm an,Karpf& GonzmlezP.A .,and Judge
  StanfordBlake.(SeeExhibitD)

  78.    On oraboutDecember15,2015,afterbeing made aware ofthe illegaltransaction,the
  Plaintiffplaced aphonecallto theBank ofAm ericacustom erservicenum berat1-800-432-
  1000,and spokewith John Doe 1who didn'trevealhisnam e.Jolm Doe 1told thePlaintiffthat
  theûétransactionwasfrom acourtorderforamoneyjudgmentandthattherewasnothingthat
  Bank ofAm ericacould do''.ThePlaintiffasked John Doe 1toexplain the detailssurrounding



                                              15
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 16 of 35




  themoneyjudgmentandhestatedç'itlookslikeajudgmentfrom aM itchellKarpf''.Bankof
  Am erica hmsyettoreturnthe stolen fundsto the Plaintiff.Bank ofAmerica willfully conspired
  with M itchellKarpfofYoung,Berm an,Karpf& Gonznlez P.A.,andisin directviolation of42
  U.S.C.j198543),18U.S.C j241and18U.S.C j 1341.18U.S.C j 1344.'I'
                                                                hePlaintiffis
  entitledtodamagesplzrsllnntto42U.S.C.1983(3)and28U.S.C.1343.

  79.    From June 2015 to present,em ployeessuch asPaulSum ulong from Bank ofA m erica
  haveintentionally sentdiscriminativeem ailsattempting to deny the Plaintiffofhisrightto cash
  acashier'scheck and failing to adhereto the dueprocessofcorrecting illegalfundstransfers.
  thatareclearly evident.ThePlaintiffsbank accountdetailsand online 1og in usenmm e/passcode
  infonnation and spending activity also wasdisclosed telephonically to attom eys,Cindy D.
  Sackrin and M itchellKarpf.TheDefendant,Bank ofAmericahasclearly ignored dueprocess
  and hasfailed to superviseand tnkeremsonable stepsconcem ing theactivitiessetforth by their
  employeesconspiringtodeprivethePlaintiffofllispropertyandliberty.(SeeExhibitG)Asa
  directresultofBank ofAm erica'sactions,thePlaintiffisentitled to dam agesplzrsllantto 42
  U.S.C 198543)and28U.S.C 1343.

  80.    Dtlring threeillegalhearingsatthe Lawson E.n omasCourthouseon December2,2015,
  December29,2015,and January 12,2016,Judge Blake,with Defendants,M itchellKarpfand
  JamieM orrisofYoung,Berm an,Karpf& Gonzalez,and opposing counsel,Cindy Sackrin and
  herclient,ErickaM edina,callsthePlaintiffsfinancialinstitution,Raym ond Jam es,located at
  2525Ponce DeLeon Blvd.,Suite600,CoralGables,FL,and asksthebank representative to
  disclosepersonalbank accountinform ation withoutlegalauthorization.Raym ond James
  Financialwillfully disclosed thePlaintiffsfinancialinform ation with Keith Ginsburg being the
  directpointofconuctasa co-conspirator. Thiscan easily beproven by phone authentication by
  a certified professionalin the industry.




                                                16
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 17 of 35




  81.    On February 8,2016,attheLaw son E.ThomasCourthouse,Judge Blake,with
  Defendants,M itchellKarpfand Jam ieM orrisofYoung,Berm an,Karpf& Gonzxlez
  (telephonically),andopposingcotmsel,Cindy Sackrinandherclient,ErickaM edina,coercedthe
  Plaintiffintopaying $42,000.00to Attorney Sackrin by bullying him with M inmi-DadePolice
  Officers.JudgeBlake thenproceedsto force him into paying $5,000.00 in illegalchild supportto
  ErickaM edina.(SeeExhibitC)

  82.    W hen the Plaintiffaskedto seetheAdministrative Order,Judge Blakeillegally holdshim
  in contempt,then issuesafraudulentW ritofBodily Attachmentand hashim arrested by two

  Miami-DadePoliceOfficersandtransportedtoM DCR facility TurnerGuilfordKnight
  CorrectionalFacility C'
                        GA'
                          J.Sometimethereafter,JudgeStnnfordBlakestam psanillegalorder
  directingCourtRegistrytoreleasetheamountof$5,000.00toAttorney Cindy Sackrin.(see
  ExhibitC)

  83.    Between Jtme 2015 and M arch 2016 Judge StzmfordBlake conspiresto willfully stamp
  fraudulentorderswith il1intentto defraud and destroy the Plaintiff.JudgeBlakeiswelllearned
  in Florida 1aw concerning Floridafam ily courtcasesand iswellawareoftheillegalactivity that
  heisparticipatingin.TheDefendantclearlybelievesheisabovethelaw judgingbyhisactions,
  and mustbe prosecuted according to hiswillfulpadicipation being the gluethatheld the
  fraudulentschemetogetherbeforethePlaintiffcam einto the knowledge ofFlorida law
  concerningpaternity esGblishment.(ExhibitC)

  84.    On October2,2015,the M iam iSuteAttorney'sOfficetakesno action and doesnotfile
  chargesagainstthePlaintiffw ithin thestahzte oflim itationsforCaseF-15-15779.


  85.    O n October23,2015,atthe Richard E.Gerstein Justice Building,
  11thJudicialCircuitJudgeAlberto M ilian, undertheadm inistrativeauthority ofChiefJudge

  BertilaSoto,disregardstheexpirationofthestatuteoflimitations(FloridaJurisprudence2d



                                              17
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 18 of 35




  1151)forCaseF-15-15779,andproceedstocreateanew fraudulentcaseandConspireswiththe
  Plaintifrslegalcounsel,M arcosBeaton,Jr.,ofBlack,Srebnick,Kom span & Stumpf,P.A.It's
  to benoted thatthe Clerk ofCourtneverissued afnaldisposition to the Plaintiffafterseveral
  requestsinperson from theLaw son E.ThomasCourthouseand theRichard E.Gerstein
  Building.Instead the Clerk ofCourtissued docllm entation showing an invalid Filing of
  lnformation with chargesfrom an expired casebeing reduced to battery and culpable negligence
  withoutanexecutedChargingDocumentptlrsuantto FloridaStatute27.181(1)42)andFlorida
  Jtzr.2d 1163& 1165,with thewillfulintentto conspireto deprivethePlaintiffofhis
  constimtionalrights.(SeeExhibitF)

  86.    Between September8,2015 and October25,2015,Christy Hertz,ofChristy HertzLaw,
  P.A.,filesmultiplefraudulentfamily courtpleadingswith fullknowledgeoftheabsence ofa
  legalDNA test.TheDefendantisin herrightmind and isawilling participantin conspiringto
  deprivetheplaintiffofhisrights.(SeeExhibitC)

  87.    On oraboutOctober22,2015,afteratûm eeting oftheminds''with Co-Defendnnt,Cindy
  Sackrin,thePlaintiff'slegalcotm sel,Christy Hertz,proceedsto accepta wiretransferinthe
  amountof$37,500.00 on behalfofAttorney Sackrinto em bezzle and defraud thePlaintiff,while
  alsoparticipatinginapaternityfraud schemeagainstthePlaintiftl(SeeExhibitC)

  88.    On oraboutNovember 18,2015,M arcosBeaton,Jr.,proceedsto forgethePlaintiff s
  signatureon an am davitwaiving hisrightto appearata11Pre--rrialcourtproceedingsfor
  INVALID case8-15-34548.(seeexhibitF)

  89.    On oraboutN ovem ber24,2015,the Plaintiffs fam ily 1aw attorney,N aum an Siddique,
  proceedsto defraudthePlaintiffoutof$5,000.00 by deceivinghim into believing thataRecusal
  procedurewillbeexecuted againstJudgeStanford Blake.M r.Siddique also conspired with
  opposing cotm sel,Cindy D.Sackrin telephonically,with thew1111 1intentto deprivethePlaintiff



                                               18
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 19 of 35




  ofhisconstitutionalrights,whilewillfullyparticipatinginapaternity fraudscheme.(SeeExhibit
  C)

  90.    On Decem ber2,2015,atthe Lawson E.ThomasCourthouse,11tbJudicialCircuitCourt
  Judge,Deborah W hite-Labora,undertheadm inistrativeauthority ofChiefJudgeBertila Soto,
  disregardsthedischargeofCaseF-15-15779.JudgeLaboraproceedsto conspirewith the
  Plaintiffslegalcounsel,M arcosBeaton,Jr.,to deceivethePlaintiffinto believingthathewas
  entering into aM isdem eanorPre-TrialDiversion progrnm with fullknow ledge ofthe legal
  dispositionofCaseF-15-15779.(SeeExhibitF)

  91.    On M ay 5,2016,attheLawson E.Thom asCourthouse,11thJudicialCounty Judge,
  Joseph Davis,undertheadm iniskative authority ofChiefJudgeBertila Soto,conspireswith the
  Plaintiffslegalcotmsel,M arcosBeaton,Jr.,by disregardingthe discharge ofCaseF-15-15779.
  JudgeDavisproceeded to verbally com municateabench warrantagainstthePlaintiff,and setan
  illegalbond amountof$100,000.00,which violated Florida1aw and thePlaintiffsconstitutional
  rights.Thisfraudulentinform ation wasputonto theM iam i-Dade County Clerk Docketwebsite
  underCaseInfoforthepublictosee.(SeeExhibitsB & F)

  92.    On oraboutOctober 16,2016,thePlaintiffsformerfnmily 1aw attorney,JoelW ilson,
  proceeded to conspirewith Attorney Sackrin to fraudulently open up a closed child supportcase
  in Orlando-orangeCotmty,FL on behalfofthePlaintiffwithoutthe Plaintiffsknowledge,and
  showing thePlaintiffto have an arrearageof$40,000.00in child support.Thiswasadeceptive
  and intentionalactto defraud the Plaintiff.Thiscan easily beproven with phoneorem ail
  authentication by a certified professionalin theindustry.


  93.    O n July 18,2017,atthe Law son E.Thom as Courthouse,11tbJudicialCounty Court
  Judge,Donald Cannava,underthe administrative authority ofChiefJudgeBertila Soto,
  disregardsthe legaldispositionofCaseF-15-15779.Furtherm ore,Judge Cannavadeniesthe



                                                 19
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 20 of 35




  PlaintiffsllM otion to Dism iss''with fullknowledgeofCase 8-15-34548being invalid without
  an executed Charging Docum entbeing filed pursuantto Floridalaw.


  94.    On June 1,2017,atthe Lawson E.ThomasCourthouse,11thJudicialCounty Court
  Judge,W illiam Altfield,undertheadministrativeauthority ofChiefJudgeBertila Soto,
  intentionally disregardsthelaw to harmssthe Plaintiffby repeatedly scheduling him to appearin
  courtforunjustifiedreasonsbetweenJune 1,2017andOctober16,2017,withthetermsRstatus
  Report''and ût-l-rialHearing''asthereason.JudgeAltfield wmsfully awareofCase8-15-34548
  being invalid,aswellasthelaw concerningdischarged cases.(SeeExhibitB)

  95.    On July 23,2017,ASA Leon Hunter,sltesthefollowing in an em ailto thePlaintiff,
  iûGood afternoon M r.Patterson,plemsefind theattached discovery pack fortrialon M onday,
  7/24/2017.95TheDefendantisaFloridaBarattorney and can identify a legalcharging document
  pursuanttoFloridalaw.TheDefendantisinclearviolationof42U.S.C 198543)andmustbe
  prosecutedaccordingly.(SeeExhibitB)

  96.    On July 24,2017,attheLaw son E.ThomasCourthouse,JudgeAltfield,tmderthe
  administrativeauthorityofChiefJudgeBertilaSoto,proceededtogoforth* 111ajury
  seledion,afulljurytrial,androleplayedwith MiamiAssistantSlteAttorneys(ASA)Leon
  Hunter,CecileCasuttVon Batem berg,and Gabriella Phillingane,with each onehaving full
  know ledge thatCase 8-15-34548 w as an invalid case.On July 24,2017,afterthe Plaintiff,as a
  ProSeLitigant,wasacquittedby ajuryofhispeersforinvalid Case8-15-34548,JudgeAltfield
  notonly illegally held him on thebasisofan allegedlndirectContemptcharge,butalso
  summoned two femaleM inm i-DadePoliceOfticersto coercethePlaintifffrom leaving the

  courtroom.(SeeExhibitB)




                                               20
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 21 of 35




  97.    On July 26,2017,attheLawson E.ThomasCourthouse,Judge Altfield forced the
  Plaintiffto sign alûNotice ofTrial''form to appearback in courtat10:00 a.m .,atwhich tim ethe
  Plaintiffwasgivenacopyofapetition,çtRuletoShow Cause''.(SeeExhibitH)

  98.    On August15,2017,during an illegalhearingattheLaw son E.Thom asCourthouse,
  Judge Altfield heldthePlaintiffagainsthiswillby threatening,intim idatinp and bullyinghim
  with six M iam i-DadePolice oftk ersstanding in frontoftheexitdoors.JudgeAltfield then
  proceeded toorderthe Plaintifftobe taken into custody aûerthePlaintiffrepeatedly asked Judge
  Altfield why,and forwhatpurposewashetherefor,and dtlring thatillegalprocess,six M inm i-
  DadePoliceOfficersbrutally attacked thePlaintiffin frontofASA JessicaUnderwood,ASA
  LeonHlmter,andtenotherASA attorneysfrom theM inmi-DadeStateAttorney'sOffice.(See
  ExhibitF)

  99.     OnAugust18,2017,during an illegalhearing foraM otion forRelease Pending Appeal
  attheLawson E.ThomasCourthouse,JudgeAltfield conspireswith the Plaintiffslegalcotmsel,
  Phillip Reizenstein and ASA JessicaUnderwood.Attorney Reizenstein proceedsto conspire with
  Judge Altfield and M s.Underwood by reading hism otion with fu11knowledge ofthe Plaintiff
  beingillegally detainedattheTllrnerGuilfordKnightCorrectionalFacility(TGK),knowingthat
  Case8-15-34548wasan invalid cmse.AfterAtlorney Reizenstein readshismotion,hewalks
  overto thePlaintiffand thePlaintiffaskshim ifhe'sbeingreleased and Attorney Reizenstein
  says,ççNoyou'regoingbacktojail.They'regoingtotakeyoubacktotheholdingcellnow,and
  1511comebacktospeakwith youin 5minutes''.(SeeExhibitH)

  100. On oraboutAugust20,2017,Attorney Reizenstein visitsthe PlaintiffatTGK while
  having fullknowledge thathe'sbeing illegally deu ined and tries to convince him to w rite a letter
  admitting guiltto JudgeAltseld,andaccepting conlm unity serviceforafraudulentcase.W hen
  thePlaintiffrefused,Attom ey Reizenstein then proceedsto attempttoprovoketheplaintiffinto
  firing him .



                                                 21
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 22 of 35




  101. On oraround August19,2017,Attorney Reizenstein sendsemailsto the Plaintifrs
  representatives,and copiesCo-Defendant,Attorney M arcosBeaton,Jr.in theemails.


                                   T hird C ause ofA ction


      V iolation ofthe 5tbA m endm ent, 42U.S.
                                             C j 198543),18U.S.C.j241and 1341by
    DefendantsJudge W illiam Ale eld,Lilia M .C asal,M ark Eiglarsh,RussellW alters,and
                                      Jessica U nderw ood.


  102. On August22,2017,during an illegalhearing attheLaw son E.Thom asCourthouse,
  JudgeAltfield roleplayswith the Plaintifrslegalcotmsel,M ark Eiglarsh and A SA Jessica
  Underwood to willfully initiate bailbond fraud forinvalid Case8-15-34548 in the am ountsof
  $50,000.00 and $100,000.00,on behalfoftheinvalid Indirectm irectContemptcharges.After
  the illegalhearing,M ark Eiglarsh refersRussellW alters,ofthe BailBond Firm ,to the Plaintiffs
  motherand theIndem nitorasareputableagent,and asksRussellW altersto''executethe bail
  bondprocedtlreasquicklyaspossible,ifhedecidestotakeit''(SeeExhibit1)

  103. On August22,2017,JessicaUnderwood,dtlring an illegalhearing atthe Lawson E.
  Thom asCourthouse,statesto JudgeAlttield saying,ççYotlrHonor,theStaterecomm endsabail
  of$100,000.00 forlndirectContemptand $50,000.00 forDirectContempt,and thatthe
  defendantshould wearan Jmklemonitorand beputon housearrestuntilthetrial''.ThePlaintiffs
  attorney,M ark Eiglarsh,conspireswith JudgeAltfield and JessicaUnderwood with full
  knowledgeofcase8-15-34548being invalid and the Plaintiffbeing illegally detained by the
  TGK Correctionalfacility.


  104. On August22,2017,LiliaM .CasalofLilly'sBailBond,Inc.,and RussellW altersofthe
  BailBondFirm ,comm itthecriminalactsoffraud by willfully disregarding Florida Statute



                                               22
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 23 of 35




  903.045.A crim inalstlrety bailbond mustbeconnected to apretrialorappellatereleaseofa
  criminaldefendant.Case8-15-34548isan invalid case with a fraudulentfmaldisposition
  pursuantto Florida Law .


  105. M r.W altersand M s.Casalhave fullknowledgeoftheFloridalaw thatgovernsbailbond
  agentsand criminalsuretybonds,butchoseto willfully violatethe1aw and the constitutional
  rightsofthePlaintiff.IntemationalFidelity lnsuranceCompany (A1A),M r.W alters,andM s.
  Casal,proceeded to sign and issue Stlrety bond appearancefonns,powerofattorney form s,and a
  contingentpromissory note forinvalid Case 8-15-34548 in thenm ountsof$100,000.00 and
  $50,000.00,with fullknowledgeofpretrialreleaseconditionsbeing nonexistent,thereby,
  defraudingthePlaintiffandtheIndemnitorwhoputupcollateralonbehalfofthePlaintiff.(See
  ExhibitF)

  106. OnAugust22,2017,RussellW alterstransfersthe fraudulentbondsto bailbond agent,
  Lilia M .Casal,butstxmpshiscompany'snam e,The BailBond Firm and addresson the
  ûtAgency Signature''linewith theintentto deceive,defraud,and to deterthe Plaintiffand the
  Indemnitorfrom exercisingtheirrightunderFlorida Statute 648.571to return thecollateral. The
  Plaintiffhaveexercised FloridaStatute 648.571and M s.Casalhasyetto responi


  107. On August22,2017,RussellW altersreceives$16,500.00 from thePlaintiffsm other,
  and fraudulently receivesthenm ountof$15,000.00 based on illegalbonds.


  108. On September26,2017,afterthe lndemnitorquestionedthevalidity ofthebonds,Russell
  W altersviolatesFloridaStatute416.13 & 15.15 by sending the lndemnitora modified contingent
  prom issory note w here her signature w asforged by RussellW altersofthe BailBond Firm .




                                               23
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 24 of 35




  109. On oraboutSeptember28,2017,JudgeAltfield sendstwo ttNoticesofCourt
  Appearance''fora ttstatusReport''hearing dated October2,2017 and October 16,2017,with the
  intentto illegally and physically hnrm thePlaintiff.


  110.   On Septem ber5,2017,atthe Richard E.Gerstein Justice Building,11thJudicialCircuit
  Judge,M ilton Hirsch,underthe adm inistrative authority ofChiefJudge Bertila Soto,deprived
  the Plaintiffofhisconstim tionalrighttorepresenthim selfin Case17-17-16392 asa Pro Se
  Litigant.Judge Hirsch then proceeded to hold the Plaintiffin thecourtToom againsthiswilltmtil
  thePlaintiffagreedto retain cotmsel,then JudgeHirsch allowed thePlaintiffto leave.


  111. On September27,2017,atanotherûûstattlsHearinf',JudgeHirsch,alongwithAssistant
  StateAttorney W ayne Adam s,attempted to deceivethePlaintiffby filing an invalid Charging
  Documentpursuantto FloridaStattzte27.181(1)(2)and(FloridaJur.2d 1163& 1165), with
  thewillfulintentto deprivethePlaintiffofhisconstitutionalrights.W henthePlaintiffdesired to
  moveforward asa Pro Se Litigant,Judge Hirsch stated,1ûIam concerned aboutyourm ental
  capacity'',and proceededto discriminateby attemptingto coercethePlaintiffintotaking a
  psychologicalevaluationw ith Dr.Ginnna Salas,and Dr.Sanford Jacobson,whom bothplaced
  phonecallstothePlaintiffwithoutfollowingthelegalprocedmepttrsuanttoFloridaRuleof
  CriminalProcedure3.210.(seeexhibit.
                                    9

         On October16,2017,M ark Eiglarsh emailsthe Plaintiffstating,tW sIpredicated and
  conveyed to you inpriorcom munications,thecourtissueda warrantforyourfailureto appear
  thismorning.Iobjectedtoit,however,he(JudgeW illiam Altfield)deemedyouractions
  willful.''M r.Eiglarsh isfully aware thatcase8-15-34548 isinvalid and awarrantforthe
  Plaintiffsarrestw illnever be executed ptlrsuantto Florida Law .M r.Eiglarsh isin his right
  m ind and knew thathe waswillfully conspiring to deprivethePlaintiffofhisconstimtional
  rights.(SeeExhibitl).TheDefendant,M arkEiglarsh,willfullyplayedasignificantrolein
  conspiring with Co-Defendants,JudgeW illinm Altseld,StateAttorney KatherineFernandez



                                                 24
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 25 of 35




  Rtmdle,ASA Jessica Underwood and ASA Cecile M elanieVon Batem berg,to deprivethe
  Plaintiffofhisrightsthrough emailcorrespondence,fraudulentcrim inalcourtpleadings,and
  illegalhearingswith fullknowledge ofthe Plaintiffbeing illegally detained by TurnerGuilford
  KnightCorrectionalFacility and theirbeing no Iegalcharging docum entin existencepursuant
  toFloridaStatute27.181(13(2)andFloridaJur.2611163tt 1165(SeeExhibitl).Thesewillful
  actionsclearly establishtheDefendant'sliabilityfortheviolationof42 U.S.C j 1985(3)& 18
  U.S.C j241,andasadirectandproximateresultoftheDefendant'sactions,thePlaintiffis
  entitled torelieffrom theDefendantandprosecution asaltem ativerelieffrom theCourt.


  113. UndertheadministrativeAuthority ofBertilaSoto,theM inm i-Dade County Clerk of
  Courtonlinedocketisrepeatedly manipulated to attack the Plaintift'sreputation and violatehis
  constitutionalrights,by retlecting falsedocketentriesofsexualbattery and casetransfersfor
  CaseF-15-15779,in addition to givingthefalse impressionthatthePlaintiffaccepted aPlea deal
  forCase17-17-16392.A sadirectartd proxim ateresultofthe Defendant'sactionsthePlaintiffis

  entitledtoinjunctiverelief.(seeexhibitB)

  114. ThePlaintiff,DimitriPatterson,isclearly being targeted by m ultipleentitiesconspiring
  to destroy hislife asahtlm an being,and publicly humiliatehim by defam ing hisnam eon the
  globalinternetplatform based on afoundation ofliesin policereportsand fraudulentcourt
  records.These abhorrentactsthatwerestrategieally plnnned by theDefendants,ignited achain
  reaction ofthedeprivation ofhisrightsand hasbroughtnotonly embarrassm ent,butem otional,
  financialandm enOldistressto the PlaintiE


         The Plaintiffiscurrently being discrim inated againstby Bnnk ofAmerica refusing to
  cashthePlaintiffscashiercheckandisentitledtoinjunctivereliefagainsttheDefendant(see
  exhibitF).ThePlaintiffhassufferedsevereinjuriesandisentitledtorecoverdamagesptlrsuant
  to42U.S.C.j1985(3)and28U.S.C j1343asadirectandproximateresultofDefendant's6-36,
  42-46,48-49 & 55-56 actionsin deprivingthePlaintiffofrightssecured to him by the Fourth,



                                               25
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 26 of 35




  Fifth,Eighth,Thirteenth,and Fourteenth Amendm ents.There isno pricetag forahllm an'slife
  and good nam e.


                                    4thc ause oj.A rtjon


   violation ofthe5tbAm endm ent, 42U.
                                     S.C j1985(3),18U.S.C.j241,j1341& j 1344by
    DefendantsB ank ofN ew York M ellon,NFL Player Second C areer SavingsPlan M aster
      Trust.Savings Board ofThe N FL Player Second Career SavingsPlan,NFL Player
    Insurance Trust,The NFL M anagem entCouncil,M eyliM arkw ard,Tam m y Thom pson,
      V ickiDenslow ,M arie W hite,Lindsay D iT usa,C indy D .Sackrin.D rew R osenhaus,
                    M agistrate Judge Bernard Shapiro and M ark Saw icki.


        On M ay 18,2017,M agistrateJudge,Bem ard Shapiro,conspireswith M ark Sawickiand
  CindyD.SackrinbyproceedingtoexecuteafraudulentQualifiedDomesticRelationsOrder
  (QDRO)withoutadheringtofederalguidelinesandFloridaLaw.Plzrsuantto29 ULS.C #
  1056(B)(il)(1)(I1),astateDomesticRelationsOrder(AdministrativeChildSupportOrderand
  establishmentofPaternity)mustbeexecutedptusuanttoFloridaLaw beforeaQDRO canbe
  deemed valii Noneoftherequired legalprocedureswereexecuted,yetthe conspirators
  proceeded topresentthisordertotheNFL PlayerSecond CareerSavingsPlan with theintentof
  defrauding the Plaintiffoutof$99,000.00 from his401kretirementplan to pay Cindy Sackrin's
  attorney feesand illegalchild supportforherclientErickaM edina.The NFL PlayerSecond
  CareerSavingsPlanproceedsto participate in thefraud and to deprivethePlaintiffofhisrights.

  (SeeExhibitA)

  117. On June 15,2017,August8,2017 and an tm know n date D efendantM ark Saw icki
  conspiresby proceeding to m ailfraudulentpostageincluding fam ily courtpleadingsand a
  fraudulentQDRO withtheintenttodefraudthePlaintiff.TheDefendantisaboardcertified




                                              26
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 27 of 35




  attomeyandiswell-learnedinFloridalaw.TheDefendantmustbeprosecutedaccordingly.(See
  ExhibitC)

  118. TheNFL PlayerSecond CareerSavingsPlan and theNFL lnsurancePlan are governed
  bytheEmploymentRetirementlncomeSecurityAct1974(ERISA),and itistheresponsibility
  oftheplan adm iniskatorsto protectand adhereto the constim tionalrightsthataresecured to the
  participantsunderEIU SA.Employeesfrom both plan adm inistratorshavewillfully and
  strategically conspired with Bank ofNew York M ellon,Cindy Sackrin,Drew Rosenhaus,M ark
  Sawciki,and ErickaM edina to deprivethePlaintiffofhisconstitm ionalrightsunderthe Plans,
  both telephonically and viaemail.Thiscan easily beprovenwith phone authenticating
  technology by a certifiedprofessionalin the industry and cellphone records.


         Between Jtme 7,2017 and January 20,2018,TheNFL Second CareerSavingsPlan
  commitspostagefraudbymailingsixçfonfirmationofQDRO AssetTransfer''letterstothe
  Plaintiffretlecting thatthePlan Administratorhad disbursed $15,000.00 to thealternatepayee
  listedinthefraudulentQDRO withoutadheringtothereqtliredfederalproceduresthatgoverns
  QDRO disbursements.TheDefendantclearly showsthewillfulintentto defraudthePlaintiff
  whiledepdvinghim ofhisrightssecuredbytheconstimtion.(SeeExhibitA)

  120. BetweenJtme7,2017 to presentaM eyliM arkward,Tamm y Thompson,and Lindsay
  DiTusa,com mitted theactsoffraud and conspired w1t11Cindy Sackrin and Drew Rosenhaus
  telephonically and viaem ail.Duringthistimefram e,theD efendantssentcountlessem ail
  correspondencetothePlaintifllattachingfraudulentQDRO'Sandstatingthatmoniesfrom his
  401k had been disbtlrsed.Tnm my n ompson em ailed thePlaintiffam anipulated 401k
  statementshowingthat$99,950.00 had been transferred from the Plaintiffs401k account.The
  Defendantshavefullknowledgeofthefederal1aw thatgovernsQDRO'Sbutwillfullychoseto
  commitfraudanddeprivethePlaintiffofhisrights.(SeeExhibitA)




                                               27
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 28 of 35




  121. Between August2015 and O ctober2017,the Plaintiffcalled the N FL lnsurance Plan
  severaltimesto rem ovea dependentwho isno longereligibleunderthe Plan.ThePlan
  Adm inistratordeniesthe Plaintiffofhisrightstating thatthePlan willnotrem ovethedependent
  and thatthePlaintiffneeded to subm itcourtdocum entation showingthatthe dependentisno
  longereligible.It'sto benotedthattmdertheN FL lnsurance Plan,aparticipanthasthe rightto
  subm itinform ation proving thedependentto beineligible.Nowherein theplan doesitrequire a
  participantto submitcourtdocllmenution.(seeexhibitA)

  122. On December27,2017,the Plaintiffem ailedtheN FL Insurance Plan requesting to
  removea dependent.Thisrequestcomplieswith thedetailed procedm e in theSumm ary Plan
  Description.


  123. On December28,2017,Pam Hazelgrove,M anagerfortheNFL CustomerService
  Center,emailed the Plaintiffstating thatthe Plaintiffsrequesthasbeen submitted to theNFL
  Plan Cotmsel.Thisisnota proceduretmdertheSummary Plan Description,which clearly shows
  thewillfuldiscrimination againstthe Plaintiffand theintentionaldeprivation ofhisrights.


  124. On January 3,2018,V ickiD enslow ofthe N FL lnstlrance Plan,em ailed the Plaintiffan
  attachm entstatingthatthePlaintiffmisrepresented thatthe dependentwashischildand thatthe
  Plaintiffwould be liable for$26,184.49,ifhewanted to proceed w1t11removing the dependent.
  Thisiscleardeprivation ofthePlaintim srightto remove adependentand showswillful
  disregardofthelawsthatgovernthePlan.(SeeExhibitA)

  125. On January 23,2018,M arie W hiteoftheN FL Insurance Plan disregardsthe law and the
  Plaintiffsrightsby reiterating thelastcorrespondencefrom VickiDenslow in an attem ptto
  forcethePlaintiffto adm itto afalseaccusation.TheNFL InsurancePlan isstillcurrently
  discrim inating and conspiring againstthe Plaintiffandhasnotremoved theineligible dependent.

  (SeeExhibitA)


                                               28
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 29 of 35




  126. On January 25,2018,theNFL PlayerSecond CareerSavingsPlan comm itspostagefraud
  by m ailing am anipulated 401k statem entbalance showing $15,000.00 being transferred outof
  thePlaintiffs401k accotmt.Thisisaclearcrim inalactoffraudto deprivethePlaintiffofhis
  constitutionalrightsasaplanparticipant.(SeeExhibitA)

  127. On January 24,2018,John Doe2,on behalfofBank ofN ew York M ellon,com mits
  postagefraud by m ailing three 1099R form sshowing $15,000.00 each in taxabledistribution.
  Thisactby theDefendantisclearfraud forthesolepurposeofdeception and to deprivethe
  Plaintiffofhisrights.Bank ofNew York M ellon hasfullknowledge ofthe federalrequirem ents
  forearlydistributionof401kpensionsregardingQDRO'Sbutchoosestowillfullyconspirewith
  theNFL PlayerSecond CareerSavingsPlan to defraudthePlaintiffand disregard hisrights.The
  Defendantisfully awareofaQDRO notbeingexecutedinregardstothePlaintiff,pursuantto
  federallaw.(SeeExhibitA)

  128. Theprem ediated 401k pension fundand insurancePonzischem eby theDefendants,
  showsintentionaleffortsto conspiretodeprivethe Plaintiffofhisrightsto his401k Pension and
  to moveon from an illegitim atechild.Defendants24,26,32,37-41,47 & 50-54 havecaused
  emotionaldistress,mental,and financialdistressand have restricted the Plaintifffrom hisliberty
  asaperson,which isa directand proximateresultoftheiractionsand thePlaintiffisentitled to
  injtmctivereliefandtorecoverdamagespursuantto42U.S.C.j1985(3)and28U.S.C j1343.

                                    Fifth C ause ofA ction


            Violationof42U.S.C j 198543),28U.S.C.j241& theFOURTH andFIFTH
                A m endm ents by Defendant,the M iam i-D ade Police D epartm ent




                                               29
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 30 of 35




  129. Officersand employeesoftheM inm i-Dade Police Departmenthave exhibited apattern
  ofofficialm isconductby violating the Florida law and civillibertiesofthe Plaintiff,engaging in
  tmlawfularrests,and submitting falsified warrantinformation on threedifferentoccasionsto the
  FloridaDepartmentofLJw Enforcementdatabase(FDLE).

  130. On M ay 5.2016,anemployeeoftheM iam iDade PoliceDepartmentsubm itted falsified
  information to theFDLE regarding abench warrantdesignating thecrime asan assaultwiththe
  additionofa$100,000.00bondwithoutthelegalchainofdocumentation(certifiedwarrant)on
  invalid C ase 8-15-34548.


         On February,13,2017,two HispanicM iamiDadePoliceOfficersdressed in street
  clothes,arrived atthe M iamiInternationalAim ortwhilethePlaintiffwmsbeing illegally
  detained bytwo U.S Custom sBorderPatrolOfficersafterarriving from Nassau Bahamason
  American Airlines.The absence ofprobablecause and thefailtzreto adhereto Florida Statute
  901.16,m akesthisactan unlawfularrestand a clearviolation ofthe Plaintiffscivilliberties
  tFourth andFifthAmendments).ThePlaintiffrepeatedlyrequestedforthetwo Officerstogive
  causeasto why hewasbeing arrested.One ofthe Officersrepliedand told M r.Patterson that,
  ktThere wasawarrantforhisarrestdueto aHfailureto appear'',and when thePlaintiffasked to
  seeproofofthewarrant,the oftkerstatedthat,il-l-hewarrantwasonthe computer''.


  132. Thetwo Officersneverpresented thewarrantto thePlaintiff,and proceededto arrestand
  transportthePlaintifftotheTurnerGuilfordKnightCorrectionalFacility (FGA'
                                                                         J,withoutthe
  legalchain ofdocllmentation ptlrsuantto Florida law.Beforethetwo Officersillegally
  committedthePlaintiffto TGK,oneoftheOfficerstold theotherOfficerto ltcheck in with the
  boss''.The other Oftk erproceeded to place a calland m ade the statem entûtW e gothim ''5then
  ended the call.




                                                30
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 31 of 35




  133. The 1aw thatgovem sa ççfailure to appear in court''isFlorida statute 903.26.There

  mustbeacertifiedwarrantorcapiassignedby ajudgeandprocessedbytheClerkofCourtand
  submitted tothe SheriY sDepartm entin M iam i-DadeCounty.Thisrequired legalprocedure was
  never executed.


  134. On August15,2017,attheLawson E.Thom asCourthouse,thePlaintiffwasarrested and
  broughtdown toa room on thefirstfloorby M iam i-Dade Police Officers.W llilestillin hand
  cuffs,aHispanicPoliceOfficertriesto takeapicttlreofthe Plaintiffwith hiscellphone.W hen
  the Plaintiffrefusesto look into theOfficer'scnm eraphone,the Offkerholding the cellphone
  grabsthe Plaintiffaroundtheneck,choking him ,then pushesthePlaintitr sheadback against
  thewall.W hen theOffkercould nottnke apicture ofthe Plaintiff,hecallsoveranotherOfficer
  and says,çll-loldhim stillwhileatakeapictureofthisblack motherfucker''.'
                                                                         I'heHispanicOftk er
  proceedsto takeapicture * 111hiscameraphone.


         On October16,2017 and Novem ber1,2017,em ployeesofthe M iami-DadePolice
  Depadmentsubmittedfalsifiedwarrantinformation (Bench& AC)totheFDLE ontwo separate
  discharged caseswithoutthe legalchain ofdocumentation,and failed to adhereto therequired
  legalprocedurepursllantto FloridaLaw.'
                                       I'he avoidanceoftheCase Dispositionsand legal
  process,isaclearviolation ofthePlaintitr sFourth and FifthAm endm ent,and an intentionalact
  to detrim entally affectthe health and safety ofthePlaintiff,in addition to being awillfuloffense
  byapublicOfficertobreakthe1aw byconcealinganissueinadischargedcase(Floridastatute
  839.134.Theclearissuesbeingconcealedherearethetwodischargedcasesandnothavinga
  certitsed warrantorcapiassubm itted bythe Clerk,which isillegaltohaveon a discharged case.


  136. O n January 8,2017,an oftk ialcom plaintwasm ailed to the M iam i-D ade Police
  Departm ent'slnternalAffairssection regardingtheabove-m entioned m isconduct.




                                                 31
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 32 of 35




  137. ThePlaintiffhassuffered injuriesbybeing traumatized,physically attacked,
  embarrmssed,andhum iliated asadirectresultofthe actionsby the M inmi-DadePolice

  Department,andisentitledinjtmctivereliefandrecoverdamagesptlrsuantto42U.S.C.j1985(3)
  and28U.S.C 51343.Theunlawfularrests,physicalabuse,onlineattacksagainstthePlaintiffs
  reputation in theFDLE,and deprivation ofhisrightsare adirectresultofapre-m editated
  patternofmaliciousbehaviorcommittedbytheM iami-DadePoliceDepadment(M DPD).The
  Defendant'sactionsclearly show the willfulintentto deprivethe Plaintiffofhisrights secured
  by the Fourth and Fifth Am endmentsoftheUnited StatesConstitution.The Plaintiffisentitledto
  recoverdamagesfortheinjtzriessufferedfrom tratlmatization,physicalabuse,public
  hum iliation,emotional,and financialdistress.ltisimpossibleto m emsure the long term negative
  effectthiswillhaveon thePlaintiffbecause ofthe actionsofthe M inmi-DadePolice
  Departm ent.




                                     Sixth CauseofAction


         Violationof42U.S.C j1985(3)& theFIFTH,THIRTEENTH andFOURTEENTH
     A m endm ents by Defendant,the M iam i-D ade C orrections R ehabilitation D epartm ent


  138. OnFebnzary 8,2016,TurnerGlzilfordKnightCorrectionalFacility (TGK),willfully
  accepted thePlaintiffwithouttherequired legaldocumentation ptlrsuantto Florida Statute
  944.17(5),anddetainedthePlaintiffuntilhepaidanillegalplzrgenmountof$5,000.00.

  139. On February 13,2017,TGK w illfully acceptsand detains the plaintiffin regards to a
  fraudulentbenchwarrantintheamountofOneHtmdredn ousanddollars($100,000.00)without
  acertiied warrantorcapias,and proceedsto executethe bailbond procedureswithoutadhering
  toFloridaStatutes903.26& 944.1745).ThePlaintiffbondedoutFebruary 14,2017.


                                               32
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 33 of 35




  140. On August16,2017,TGK illegally detainsthePlaintiffin solitary confinem entfor24
  hourseveryday forseven days,withouttherequireduniform commi% entandjudgmentand
  sentenceform safterthePlaintifpsbond wasposted.W hen thePlaintiffasked the Correctional
  Officerwhy hewasn'tbeing released,the Officerstated,ççYou had awarrantforyotlrarrestand
  there'sahold on yourrelease,and you haveto see JudgeAlttield foryourContempthearing
  beforeyou'rereleased''.PtlrsuanttoFloridastatute944.1745),TGK shouldhavereleasedthe
  Plaintiffafterhisbond wasposted on August16,2017,instead ofbeing released on August22,
  2017.


  141. ThePlaintiffwasseverely traum atizedby the intentionalcruelpunishmentintlicted on
  him by TGK ,w hich 1ed to financialand em otionaldistress.Due processof1aw was com pletely
  disregarded.Beingsubjecttodehumanizingtreatment,andheldcaptiveagainsthiswillonthree
  differentoccasions,including being subjecttoslaveryforsevendays,showsthewillfulintentto
  deprivethePlaintiffoftheconstitutionalrightssecured to him by the Fifth,Thirteenth and
  Fourteenth Amendments,which givesthe Plaintifftherightto recoverdamagesplzrsuantto 28
  U.S.C.1343and42 U.S.C 198543)asaresultoftheselifethreateninginjuries.



                                             R elief


          W H EREFORE,the Plaintiff,Dim itriPatlerson,respectfully demandsthatthiscourt:


             a) Enterajudgementin hisfavorand award onebillion dollars($1,000,000,000.00)
                indnmagespursl'nntto42U.S.C.j 1985(3)and28U.S.C.j 1343.




                                              33
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 34 of 35



           b) Instituteprosecutionsagainsta11individualsnamedinthisComplaintplzrsuantto
              18U.S.C j241,1341and1344,andforallcrimescommittedbytheDefendants
              in thiscomplaintapplicableto federaland statelaw asalternative relief


           c) GrantinjtmctivereliefagainsttheM iami-DadePoliceDepadmentbyorderingthe
              Depar% entto removethefraudulentwarrant/wanted inform ation from the
              FloridaDepartmentofLaw Enforcem entDaàbase,* 111thelanguagestating that
              no future unmerited information isto beillegally entered into theFlorida
              DeparM entofLaw Enforcem entdatabase in thennm eofDim itriJonthiel
              Patterson,born 06-18-1983,foretem ity.


           d) GrantinjtmctivereliefagainstTheNFL SecondCareerSavingsPlanandtheNFL
              PlayersInstlranceTnlstorderingthem to rem ovetheillegitim atechild from the
              plan foreternity.


           e) GrantinjunctivereliefagainstBertilaSotoandtheM iami-DadeCounty Clerkof
              Courts 11tbJudicialCircuitordering theremovalofa11fraudulentdocketentries
              underthename ofDimikiJonthielPatterson foralleternity and tom ailthe
              dischargeofbond forcase numbersF-15-15779 andF-17-16392 to3701
              W ilshire Blvd.,#530,Los A ngeles,C A 90010 w ithin 14 daysfrom the date of
              the order.




                                             34
Case 1:18-cv-20821-CMA Document 1 Entered on FLSD Docket 03/05/2018 Page 35 of 35




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                                        35
